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 1   SHARI L. GREENBERGER, SBN 180438
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 2   San Francisco CA 94133
     415/986-5591
 3
     Attorney for Defendant
 4   IRIS LAI HUNG TAM
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 6
 7                        UNITED STATES DISTRICT COURT
 8                      NORTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,
                                                 CR 05-00375
11               Plaintiff,
12          v.                                   STIPULATION AND PROPOSED
                                                 ORDER TO MODIFY
13   IRIS LAI HUNG TAM,                          CONDITIONS OF RELEASE
14              Defendant.
     ______________________________/
15
16          THE PARTIES HEREBY STIPULATE AND AGREE that the conditions
17   of pretrial release for IRIS TAM may be modified so as to
18   terminate her electronic monitoring conditions.              All other
19   conditions previously imposed will remain the same.
20          Assistant United States Attorney Andy Scoble and Assistant
21   United States Pretrial Officer Richard Sarlatte advised counsel
22   that they have no objection to said modification.
23          Dated:   October 12, 2005
24
25    /s/ SHARI L. GREENBERGER                /s/ ANDY SCOBLE
     SHARI L. GREENBERGER                    ANDY SCOBLE
26   Attorney for Defendant                  Assistant U.S. Attorney
     IRIS LAI HUNG TAM                       Dated: 10/12/05
27
28
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 1                                PROPOSED ORDER
 2         IT IS SO ORDERED:
 3
     October 18, 2005
 4                                           MAGISTRATE NANDOR J. VADAS
                                             U.S. DISTRICT COURT JUDGE
 5                                                Magistrate
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